      8:08-cr-00002-TDT    Doc # 44     Filed: 01/09/09    Page 1 of 1 - Page ID # 102




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )
                     Plaintiff,                   )              8:08CR2
                                                  )
        vs.                                       )        TENTATIVE FINDINGS
                                                  )
JOSHUA HOLLE,                                     )
                                                  )
                     Defendant.                   )
        The Court has received the Revised Modified Presentence Investigation Report
(PSR) and the Defendant’s objections thereto (Filing No. 40). The government has
adopted the PSR (Filing No. 42). See Order on Sentencing Schedule, ¶ 6.
        The Defendant objects to ¶ 27 and any enhancement due to a pattern of similar
behavior and the government’s factual basis insofar as it applies to the enhancement in ¶
27.
        IT IS ORDERED:
        1.    The Defendant’s Objections to the Revised Modified Presentence
Investigation Report (Filing No. 42) are overruled;
        2.    Otherwise the Court’s tentative findings are that the Revised Modified
Presentence Investigation Report is correct in all respects;
        3.    If any party wishes to challenge these tentative findings, the party shall
immediately file in the court file and serve upon opposing counsel and the Court a motion
challenging these tentative findings, supported by (a) such evidentiary materials as are
required (giving due regard to the requirements of the local rules of practice respecting the
submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary
hearing is requested, a statement describing why an evidentiary hearing is necessary and
an estimated length of time for the hearing;
        4.    Absent submission of the information required by paragraph 3 of this Order,
my tentative findings may become final; and
        5.    Unless otherwise ordered, any motion challenging these tentative findings
shall be resolved at sentencing.
        DATED this 9th day of January, 2009.
                                                  BY THE COURT:
                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge
